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 LINUS HOLDINGS CORP.,                           :
                                                 : UNITED STATES DISTRICT COURT
                Plaintiff,                       :    DISTRICT OF NEW JERSEY
                                                 :
         v.                                      :    Civil Action No. 17-3694 (FLW)
                                                 :
 MARK LINE INDUSTRIES, LLC, et.als.,             :                ORDER
                                                 :
                Defendants.                      :


        THIS MATTER having come before the Court for a telephone status conference on May
21, 2018; and the Court having conferred with counsel; and good cause appearing for the entry
of this Order:

        IT IS on this 29th day of May, 2018

        ORDERED THAT:

   1. All parties must conduct discovery expeditiously and diligently. In addition, all discovery
      conducted must be proportional to the needs of the case considering the factors set forth
      in Fed. R. Civ. P. 26(b)(1).

   2. Plaintiff is granted leave to file an Amended Complaint and shall do so by June 18, 2018.

   3. The Court will conduct a telephone status conference on September 13, 2018 at 2:30
      PM. Counsel for Plaintiff is directed to initiate the call to (609) 989-2144. During the
      call, the Court will set a schedule for the timely completion of discovery.

   4.    Counsel must confer at least 48 hours in advance of each Court appearance to confirm
        attendance and to review any matters to be discussed with the Court.

   5. The Court may from time to time schedule conferences as may be required, either sua
      sponte or at the request of a party. Failure to appear at such conferences, or to comply
      with the terms of this or any Court Order, may result in the imposition of sanctions.

                                                        s/ Douglas E. Arpert
                                                      DOUGLAS E. ARPERT
                                                      United States Magistrate Judge
